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 1   KEVIN BAUM
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2 2099 Marina Blvd,
  San Leandro, CA 94577                                                                                               {'JIM',
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4
     ALEJANDRA VANPELL
5    Mailing Address:
     1243 29^^ St.
6    Richmond, CA 94804                                                                 filed
     (512)905 9993
7    avanpell@gmail.com                                                                   NOV -1 Ml
8    IN PRO PER
                                                                                    .         U.S. DISTRICT COURT
                                                                                    NORTHERN DISTRICT OF CALIFORNIA
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10                                           U.S. DISTRICT COURT

                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
11
                                               OAKLAND DIVISION                                                     Who
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13
     Kevin Baum,and Alejandra VanPell
                                                         C 21   Case No.:
                                                                                                A




14
                                 Plaintiffs,
15                                                              VERIFIED COMPLAINT FOR
            vs.
                                                                TEMPORARY RESTRAINING
16
     Paul Llanez Peralta College Director of Public             ORDER AND DECLARATORY
     Safety; and Janet N. Jackson,Peralta College               AND INJUNCTIVE RELIEF
17
     Interim Chancellor

18
                                 Defendants.
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                                           I. BASIS OF JURISDICTION
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            1. This case presents a federal question imder the 4'*', 8*^, and 14*'' Amendments of the U.S.
24
     Constitution, and 42 U.S.C. § 1983 and 28 U.S.C. § 1331, because this complaint seeks relief from
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     deprivation of plaintiffs federal constitutional and statutory rights, and state granted property rights
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     under color of local government authority. Plaintiffs' claims for a temporary restraining order and
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                       Verified Complaint for Restraining Order or Injunctive and Declaratory Relief
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 1   injunctive and declaratory relief are authorized by 28 U.S.C. §§2201-2202, and Federal Rules of

2    Civil Procedure 65.

 3                                                   PARTIES

4                                                     Plaintiffs

 5          2. Kevin Baum - Mailing Address: 2099 Marina Blvd, San Leandro, CA 94577, Phone:

6    (510)927-8171. Email: Baumkevin410@gmail.com

7           3. ALEJANDRA VANPELL - Mailing Address: 1243 29*^ St., Richmond, CA 94804,
8    Phone: {512} 905-9993,Email: avanpell@gmail.com

9                                                    Defendants

10          4. Paul Llanez, Peralta College Director of Public Safety - Mailing Address: Peralta

11   College 333 E. 8^ Street, Oakland, Ca 94606,Phone: unknown,email address: unknown
12          5. Janet N. Jackson, Peralta College Interim Chancellor - Mailing Address: Peralta

13   College 333 E. 8^ Street, Oakland, Ca 94606,Phone:(510)466-7200,Email:jjackson@peralta.edu.
14                                           Ill, BASIS OF CLAIM

15          6. Plaintiffs now occupy and are living on a property on 5*'' Avenue in Oakland, California.
16   The property is adjacent to a Laney College warehouse building on one side and a lumber company

17   on the other.

18          7. Before plaintiffs occupied the property, the property was a public nuisance. It was filled

19   with invasive weeds and trash. The weed seed stocks grow over 8' tall, and are a significant fire

20   hazard in the late summer and Fall season. There have been multiple small fires on the property, and

21   the fire hazard has been a serious concem of the adjacent lumber company. The invasive weed

22   seeds fi*om the property have spread by wind across 5*^ Ave. and have created weed control
23   problems in those areas. Many tall trees were growing so close to the adjacent college warehouse

24   building, that runs the length ofthe property, that some were growing up against the rim joist ofthe

25   building. The property has been used by thieves for access to the adjacent lumber company and

26   there have been multiple thefts of lumber. There also have been multiple RAVE parties on the

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 1   property. The RAVE party organizers and thieves have cut the lock on the gate to the property
2    multiple times

 3          8. During plaintiffs' occupancy ofthe property they have substantially cleaned it up and it is
4    now no longer a public nuisance. Over ninety per cent of the trash and weeds have been removed,

5    most of the trees growing too close to the warehouse have been removed, the property is occupied

6    which is a deterrent to thieves and RAVE parties, and the clean-up is continuing

7            9. On Oct. 26, 2021, defendant Llanez personally ordered Plaintiffs to vacate the foregoing

 8   property they occupy and live on. As the legal authority for his order, Llanez falsely stated that
9    Peralta College is the owner of the property. Plaintiffs know that it was false because they have an
10   email and related documents from the Alameda County Assessor's office that show that Peralta

11   College does not own the property. Plaintiffs objected to Lanez that the College did not own the

12   property, but Llanez did not heed Plaintiffs' objections that the College did not own the property,

13   did not look at their evidence that it did not, and did not show Plaintiffs any documents to back up

14   his contention that the College owned the property.

15            10. Defendant Llanez also stated that his order to vacate originated from Peralta College

16   defendant Chancellor Jackson, and ftirther stated that he would tow plaintiffs' vehicles including the

17   one they are now living in, and would also remove their personal property and persons, if they did

18   not vacate the subject property by Tuesday, Nov. 2, 2021. Llanez did not offer plaintifTs an

19   alternate place ofresidence.

20           11    By the foregoing acts of defendants, plaintiffs' federal constitutional and statutory

21   rights under the 4*^, 5^, 8'*', and 14'*' amendments of the U.S. Constitution and 42 U.S.C. § 1983
22   were violated. Defendants' order to vacate had no legal authority, no due process was provided to

23   plaintiffs concerning their evidence, and pleading to defendant Llanez, that the College did not own

24   the property. Plaintiff's were not offered an alternative residence, and while thieves and RAVE

25   partiers were tolerated by the college. Plaintiffs who cleaned up the property and eliminated the

26   foregoing nuisances were not. The order also violated Plaintiffs' state statutory property right under

27   California Civil Code § 1006, which mandates that only a person with a valid legal title may evict a

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 1   person or persons occupying the title-holder's property.

2            12. On Oct. 30,2021, Plaintiffs sent an email to defendant Jackson with an attached copy of

3    the email from the Assessor's Office showing that the college did not own the property. On the

4    same day, they also sent an email to defendant Jackson, stating their demand that defendants cease
5    and desist their actions to remove Plaintiffs from the property. Attached to the second email was a

6       draft copy of this complaint so that defendant Jackson was fully apprised of the facts and proof
7    that the College did not own the property. At 11:00 pm on Oct. 31,2021,Plaintiffs sent an email to
8    defendant Jackson stating their intent to file a request for a temporary restraining order. There has
9    been no response from defendants. Because time is of the essence this complaint is now filed.
10   Plaintiffs will suffer irreparable injxuy if the temporary restraining order is not granted.

11                                        IV.REQUEST FOR RELIEF

12           13. Wherefore,Plaintiffs request that the Court:

13          (a) Grant Plaintiffs a temporary restraining order enjoining defendants from seizing and
14   removing their vehicles, personal property, and persons from the subject property.

15          (b) Declare defendants' conduct unlawful, and permanently enjoin defendants from seizing

16   and removing Plaintiffs' vehicles, personal property, and persons from the subject property, or

17   otherwise disturbing their peace.

18                                           V. CERTIFICATION

19           14. Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my

20   knowledge, information, and belief that this complaint:(1) is not being presented for an improper

21   piupose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation; 2)
22   is supported by existing law or by a nonfiivolous argument for extending, modifying, or reversing

23   existing law; (3) the factual contentions have evidentiary support or, if specifically so identified,

24   will likely have evidentiary support after a reasonable opportunity for further investigation- and (4)

25   the complaint otherwise complies with the requirements of Rule 11.

26           15. I agree to provide the Clerk's office with any change to my address where case-related

27   papers may be served. I understand that my failure to keep a current address on file with the Clerk's

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 1   Office may result in the dismissal of my case.

2                       VI.PLAINTIFFS' VERIFICATION OF THE COMPLAINT

 3             16.1, Kevin Baum, and I, Alejandra VanPell, are the plaintiffs in this action. We have read

4    the foregoing complaint. We know that all allegations we have personal knowledge of are true, and

5    we believe the allegations that we do not have personal knowledge of to be true based on

6    information given to us by persons with personal knowledge of those facts who will testify to their

7    truth.

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10   Executed on

11   In Oakland, CA,County of Alameda                             Kevin Baum,Plaintiff

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13                                                      By:

14                                                                Alejandra VanPell, Plaintiff

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